USDC IN/ND case 3:15-cv-00145-JD-CAN document 47 filed 09/29/15 page 1 of 10


                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA

                                    )
LARRY G. PHILPOT,                   )
                                    )     Case No. 3:15-cv-00145 JD-CAN
                  Plaintiff,        )
                                    )
                  v.                )
                                    )
GRAY TELEVISION, INC.,              )     Judge Jon E. DeGuilio
                                    )     Magistrate Judge Christopher A.
                  Defendant.        )     Nuechterlein
____________________________________)_____________________________________
                                    )
GRAY TELEVISION GROUP, INC.,        )
                                    )
            Third-Party Plaintiff,  )
                                    )
                  v.                )
                                    )
MULTIMEDIA GRAPHIC NETWORK, )
INC. d/b/a MGN Online,              )
                                    )
            Third-Party Defendant.  )

            GRAY TELEVISION GROUP, INC.’S THIRD-PARTY COMPLAINT

       NOW COMES Defendant Gray Television Group, Inc. (“Gray” or “Third-Party

Plaintiff”), by and through its attorneys, Holland & Knight LLP, and hereby submits the following

Third Party Complaint against Multimedia Graphic Network, Inc. d/b/a MGN Online (“MGN” or

“Third-Party Defendant”) and respectfully states:

                                JURISDICTION AND VENUE

       1.      This Court has Supplemental Jurisdiction over Gray’s claims against MGN under

28 U.S.C. § 1367 because this Court has original federal question jurisdiction over the copyright

infringement action against Gray pursuant to 28 U.S.C. § 1338(a), and Gray’s claims against MGN

are so related to claims in the original action that they form part of the same case or controversy

under Article III of the United States Constitution.
USDC IN/ND case 3:15-cv-00145-JD-CAN document 47 filed 09/29/15 page 2 of 10


        2.      This Court has personal jurisdiction over MGN by virtue of its entering into an

agreement with Larry G. Philpot (“Plaintiff” or “Philpot”) for license of the photograph which is

the subject of Plaintiff’s action against Gray and by virtue of MGN’s transacting, doing, and

soliciting business in this District.

        3.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because Gray

resides in this district because a substantial part of the events, or omissions giving rise to the claim

occurred, and because MGN conducts business in this district.

                                              PARTIES

        4.      The Plaintiff, Philpot, is a photographer who works with concert events across the

U.S., and resides in Indianapolis, Indiana.

        5.      Third-Party Plaintiff, Gray Television, Inc., has a principal place of business in

Albany, Georgia, owns KALB-TV, which conducts business in Alexandria, Louisiana, and Gray

conducts business in the Northern District of Indiana through WNDU-TV in South Bend.

                              FACTS COMMON TO ALL COUNTS

        6.      On or about February 24, 2009, KALB-TV, as subscriber, entered into a service

agreement with MGN, as provider (the “MGN Service Agreement”) pursuant to which, for a

monthly fee, MGN provided photographs and graphic images to KALB-TV for use in connection

with KALB-TV’s television broadcasts and internet website postings. A true and accurate copy

of the MGN Online Service Agreement is attached hereto as Exhibit A.

        7.      Pursuant to the MGN Service Agreement and at all times relevant herein, KALB-

TV was entitled to SD Full Service from MGN for the initial monthly rate of $275.00 per month.




                                                   2
USDC IN/ND case 3:15-cv-00145-JD-CAN document 47 filed 09/29/15 page 3 of 10


        8.      The “SD Full Service” provided under the MGN Service Agreement, among other

things, allowed KALB-TV to drag-and-drop photographs and graphic images posted in the MGN

catalogue to KALB-TV’s website and for use on KALB-TV programming.

        9.      In the MGN Service Agreement and in other communications, MGN represented

to KALB-TV that MGN or its affiliates were the exclusive copyright owners of the photographs

and graphic images provided to KALB-TV and that such photographs and graphic images could

be used by KALB-TV in its television broadcasts and internet website postings free and clear of

the claims of third parties.

        10.     Based on the MGN Service Agreement and the representations made by MGN,

KALB-TV used MGN-supplied photographs and graphic images and, at all times relevant herein,

MGN was the sole supplier of photographs and graphic images to KALB-TV, other than

photographs and graphic images created and owned by KALB-TV.

        11.     The MGN Service Agreement, which renews automatically unless terminated by

one of the parties, remained in full force and effect from the effective date of June 1, 2009 through

and including 2015 (the “Term”).

        12.     During the Term, KALB-TV fully performed all obligations required of it pursuant

to the MGN Service Agreement.

        13.     In October 2012, and pursuant to the MGN Service Agreement, KALB-TV

downloaded a stamp-sized photograph of Willie Nelson (the “Nelson Stamp”) from MGN and

allegedly used the Nelson Stamp in connection with a website news story (“News Story”)

regarding an upcoming Willie Nelson concert at the Rapides Parish Coliseum on November 30,

2012 (the “Nelson Concert”). See Exhibit D to Philpot's Complaint, Dkt. No. 1.




                                                 3
USDC IN/ND case 3:15-cv-00145-JD-CAN document 47 filed 09/29/15 page 4 of 10


         14.   In December 2012, KALB-TV removed the News Story, together with the Nelson

Stamp (“News Story”), from its website and transferred both to an archive maintained by a third-

party provider, Gannaway Web Holdings, LLC d/b/a/ WorldNow (“WorldNow Archive”).

         15.   No allegations have been made that KALB-TV made any other use of the Nelson

Stamp other than posting on the KALB-TV website in connection with News Story.

         16.   On or about June 13, 2014, KALB-TV was purchased by and became part of Gray

Television Group, Inc.

         17.   As the successor-in-interest to KALB-TV, Gray is a party to and direct beneficiary

of the MGN Services Agreement, and Gray is entitled to rely on the MGN Services Agreement

and the representations made by MGN to KALB-TV regarding the authority to use the Nelson

Stamp.

         18.   During August 2014, Philpot sent communications to KALB-TV in which Philpot

claimed to be the sole copyright owner of the Nelson Stamp. Philpot asserted that the posting of

the Nelson Stamp on the KALB-TV website and in the WorldNow Archive constituted copyright

infringement and Philpot demanded payment from KALB-TV.

         19.   Gray denied that use of the Nelson Stamp on the KALB-TV website in connection

with the News Story and the posting in the WorldNow Archive violated Philpot’s alleged

ownership rights in the Nelson Stamp and further denies that any amount is due to Philpot.

         20.   On or about December 2, 2014, Philpot filed the above-captioned action in the

United States District Court for the Southern District of Indiana and served a copy of the complaint

on Gray’s affiliate, Gray Television, Inc. Nonetheless, Gray accepted service and sought to

transfer venue of the case.




                                                 4
USDC IN/ND case 3:15-cv-00145-JD-CAN document 47 filed 09/29/15 page 5 of 10


       21.     By order dated March 30, 2015, the District Court for the Southern District of

Indiana transferred this case to this Court.

                                  Count I – Breach of Contract

       22.     Gray reasserts the allegations of paragraphs 6 through 21, inclusive, as though fully

set forth in this paragraph 22.

       23.     The Nelson Stamp used by KALB-TV on its website and stored in the WorldNow

Archive in connection with the News Story was provided to KALB-TV by MGN pursuant to the

MGN Services Agreement.

       24.     MGN represented that MGN or its affiliates were the exclusive owners of the

Nelson Stamp and that KALB-TV was able to use the Nelson Stamp on its website free and clear

of the claims of third parties such as Philpot.

       25.     The MGN Services Agreement also authorized KALB-TV to store the Nelson

Stamp on the WorldNow Archive without further payment to MGN free and clear of claims of any

third party, such as Philpot.

       26.     Philpot now claims to be the sole owner of the Nelson Stamp and further alleges

that MGN had no right or authority to license the Nelson Stamp to KALB-TV. In his complaint,

Philpot alleges damages against Gray based on unlicensed use of the Nelson Stamp.

       27.     Gray denies Philpot’s allegations that Gray’s use of the Nelson Stamp was

unlicensed and further asserts that the use of the Nelson Stamp is fair use pursuant to 17 U.S.C. §

107 as pled in Gray’s Affirmative Defenses filed in this case.

       28.     If Philpot’s allegations are proven true, MGN has materially violated its

representations and obligations to KALB-TV and to Gray under the MGN Services Agreement.




                                                  5
USDC IN/ND case 3:15-cv-00145-JD-CAN document 47 filed 09/29/15 page 6 of 10


       29.     As a direct and proximate result of MGN’s breach of its obligations and

representations to KALB-TV, described herein, Gray has been materially damaged and, in

addition, has been required to defend itself from Philpot’s allegations and claims against Gray and

KALB-TV.

       30.     In light of the allegations set forth above, this Court should enter judgment in

favor of Third-Party Plaintiff, Gray Television Group, Inc., against Multimedia Graphic Network,

Inc. d/b/a MGN Online, award costs and fees to Gray Television Group, Inc., and grant such

additional relief as the Court deems just and appropriate.

                                  Count II – Justifiable Reliance

       31.     Gray reasserts the allegations of paragraphs 6 through 21, inclusive, as though fully

set forth in this paragraph 31.

       32.     The Nelson Stamp used by KALB-TV on its website and stored in the WorldNow

Archive in connection with the News Story was provided to KALB-TV by MGN pursuant to the

MGN Services Agreement.

       33.     MGN represented to KALB-TV that MGN or its affiliates were the exclusive

owners of the Nelson Stamp and that KALB-TV was able to use the Nelson Stamp on its website

free and clear of the claims of third parties such as Philpot.

       34.     The MGN Services Agreement also represented to KALB-TV that it would be able

to store any MGN image, including the Nelson Stamp, in the WorldNow Archive without further

payment to MGN free and clear of claims of any third party, such as Philpot.

       35.     KALB-TV was entitled to rely on the representations of MGN when using the

Nelson Stamp in connection with the News Story and with storage of the Nelson Stamp and News

Story in the WorldNow Archive.




                                                  6
USDC IN/ND case 3:15-cv-00145-JD-CAN document 47 filed 09/29/15 page 7 of 10


        36.    KALB-TV did rely on the representations of MGN when it used the Nelson Stamp

in connection with the News Story and stored the Nelson Stamp and News Story in the WorldNow

Archive.

        37.    Based on the facts and circumstances, KALB-TV’s reliance on the representations

of MGN regarding KALB-TV’s right to use the Nelson Stamp were justified and reasonable.

        38.    As successor in interest, Gray is entitled to assert the claims and defenses available

to KALB-TV against MGN and others in connection with the posting of the Nelson Stamp.

        39.    Philpot now claims to be the sole owner of the Nelson Stamp and further alleges

that MGN had no right or authority to license the Nelson Stamp to KALB-TV. In his complaint,

Philpot alleges damages against Gray based on unlicensed use of the Nelson Stamp.

        40.    If Philpot’s allegations are proven true, MGN has materially violated its

representations to KALB-TV and to Gray upon which both KALB-TV and Gray were entitled to

rely.

        41.    As a direct and proximate result of MGN’s breach of its obligations and

representations to KALB-TV, described herein, Gray has been materially damaged and, in

addition, has been required to defend itself from Philpot’s allegations and claims against Gray and

KALB-TV.

        42.    In light of the allegations set forth above, this Court should enter judgment in

favor of Third-Party Plaintiff, Gray Television Group, Inc., against Multimedia Graphic Network,

Inc. d/b/a MGN Online; award costs and fees to Gray Television Group, Inc.; and grant such

additional relief as the Court deems just and appropriate.




                                                 7
USDC IN/ND case 3:15-cv-00145-JD-CAN document 47 filed 09/29/15 page 8 of 10


                                      Count III – Indemnity

        43.     Gray reasserts the allegations of paragraphs 6 through 20, inclusive, as though fully

set forth in this paragraph 43.

        44.     As a result of the above-captioned case filed against Gray by Philpot, Gray is

incurring and has incurred attorney’s fees, court costs, and other costs in connection with

defending the claims asserted by Philpot, the exact nature and amount of which are unknown at

this time.

        45.     When such fees and costs have been determined, Gray will seek leave of Court to

amend this Count III claim against MGN to set forth the true nature and amount of such costs, fees

and expenses.

        46.     Gray asserts that it is in no way responsible to Philpot and that Gray is not liable

for the damages sought by Philpot in his complaint.

        47.     However, if Gray is held liable or responsible to Philpot for damages, such liability

will be the direct and proximate result of the actions and failures to act of MGN.

        48.     In such case, Gray is entitled to complete indemnification by MGN for any amount

or amounts for which Gray may be adjudicated to pay to Philpot, with costs of defense and

reasonable attorney’s fees incurred in connection therewith.

        49.     In light of the allegations set forth above, this Court should enter judgment in

favor of Third-Party Plaintiff, Gray Television Group, Inc., against Multimedia Graphic Network,

Inc. d/b/a MGN Online, award costs and fees to Gray Television Group, Inc., and grant such

additional relief as the Court deems just and appropriate.




                                                  8
USDC IN/ND case 3:15-cv-00145-JD-CAN document 47 filed 09/29/15 page 9 of 10


                                    Count IV – Contribution

       50.     Gray reasserts the allegations of paragraphs 6 through 20, inclusive, as though fully

set forth in this paragraph 50.

       51.     Gray asserts that it is in no way responsible to Philpot and that Gray is not liable

for the damage sought by Philpot in his complaint.

       52.     However, if Gray is held liable or responsible to Philpot for damages, such liability

will be the direct and proximate result of the actions and failures to act of MGN.

       53.     In such case, Gray requests that this Court determine the percentage of liability

attributable to MGN, by way of contribution, for any amount or amounts for which Gray may be

adjudicated to pay to Philpot, with costs of defense and reasonable attorney’s fees incurred in

connection therewith.

       54.     In light of the allegations set forth above, Gray Television Group, Inc.

requests that this Court should enter judgment in favor of Third-Party Plaintiff, Gray Television

Group, Inc., against Multimedia Graphic Network, Inc. d/b/a MGN Online for: (a) a declaration of

MGN’s rights and duties to Gray; (b) damages suffered by Gray; (c) an order declaring the

percentage of fault, if any, between Gray and MGN, and each of them, for damages and losses

allegedly caused to Philpot; (d) attorney’s fees, court costs, and other expenses incurred in the

defense of this case; and (e) any such additional relief as the Court deems just and appropriate.

DATE: September 29, 2015                              Respectfully submitted,

                                                      GRAY TELEVISION GROUP, INC.

                                                      By:    /s/ Robert J. Labate
                                                             One of Its Attorneys


Michael P. O'Neil
Taft Stettinius & Hollister LLP



                                                 9
USDC IN/ND case 3:15-cv-00145-JD-CAN document 47 filed 09/29/15 page 10 of 10


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                                     10
